Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.9 Page 1 of 51




                      EXHIBIT 1
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.10 Page 2 of 51




                                                 FOOD SERVICES AGREEMENT
                                                             Between
                                                 Bon Appetit Management Company
                                                               and
                                                          Albion College

      THIS AGREEMENT is made as of June 8, 2011 by and between Albion College, with
      p r i n c i p a l o f l i o c s l o c a t e d a t 6 1 1 E P o r t e r Street., A l b i o n M I 4 9 2 2 4 ( 1 ' C l i e n t M o r ' ' A l b i o n
      College'" or "College"), and Bon Appetit Management Company, a California
      corporation ("Bon Appetit") (individually, the ''Party" and collectively, the "Parties").

      WHliREAS, Client desires to avail itself of Bon Appetifs food services; and

      WHEREAS, Bon Appetit desires to perform such services for Client;

      NOW, THEREFORE, in consideration of the mutual covenants and agreements set forth
      herein, the Parties hereto, intending to be legally bound hereby, agree as follows,


      1. CEIENTS GRANT TO BON APPETIT

      Client grants to Bon Appetit, as an independent contractor, the exclusive right to provide
      and manage the Client's food service program including catering sendee (manual
      Foodservice hereinafter referred to as "Services." "Food Service'' or "Food Service
      Program") on the campus of the Albion College (the "Premises") and the exclusive right
      to sell to students, employees, guests and other persons at such Premises food products,
      non-alcoholic beverages and other such articles ("Products") as shall be approved by the
      Client. Bon Appetit shall render the Food Services within the facilities of the Premises,
      including but not limited to. the food preparation, serving, dining and storage areas
      ("Facilities") designated for the Food Service Program. Bon Appetit's exclusive rights
      do not include vending, fraternities, the campus bookstore, athletics concessions, student
      business ventures, special student events and Albion1 Card merchant program.


      2. COMMENCEMENT AND TERMINATION

      A. This Agreement shall become effective as of July 1, 2011 and shall remain in force
      until June 30, 2016, unless terminated earlier as provided in Section 2.B or 2.C ("Term").
      If neither Party has provided notice of termination at least ninety (90) days in advance of
      June 30. 2016, or June 30 of each year thereafter that this remains in effect, and if neither
      Party has terminated the Agreement early under Section 2.B. or 2.C.. the Agreement will
      renew automatically for a one-year period, The Agreement may renew aulomalically in
      accordance with the preceding sentence no more than five times.

      B. Notwithstanding the above, either Party may terminate this Agreement without cause
      by providing notice of termination in writing ninety (90) days prior to the proposed
      termination date.




                                                                                                                                  Page 1 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.11 Page 3 of 51




      C. If either Party shall refuse, fail o r be unable t o perform o r observe a n yo f the terms o r
      conditions of this Agreement for any reason other than Bxcused Performance reasons
      stated herein, the Party claiming such failure may give the other Party a written notice of
      such breach, If the failure has nol been corrected within ten (10) days from such notice,
      the non-breaching Party may terminate this Agreement by sending a termination notice
      that is elTeetivc no sooner than ten (10) days after that notice is given. Termination is
      without prejudice to any other available remedy.

      D . In t h e e v e n t o f a t e r m i n a t i o n f o r a n y r e a s o n , a l l a m o u n t s o u t s t a n d i n g s h a l l b e c o m e
      due and payable to Bon Appelit within thirty (30) days after termination,

      Li. U p o n t h e t e r m i n a t i o n o r e x p i r a t i o n o f t h i s A g r e e m e n t , B o n A p p e l i t s h a l l , a s s o o n
      thereaflcr as is feasible, but in no event later than thirty (30) days after the effective date
      of termination or expiration of this Agreement, vacate all parts of the Premises occupied
      by Bon Appelit, remove its equipment (if applicable) and return the Facilities to Client,
      together with all the equipment furnished by the Client pursuant to this Agreement, in the
      same condition as when originally made available to Bon Appelit. excepting reasonable
      wear and tear, lire and other casualty loss.

      F, The termination or expiration of this Agreement shall not affect the rights, privileges,
      liabilities and/or responsibilities of the Parties as they exist as of the effective date of
      termination, The Parties shall cooperate fully with each other during the Term of the
      Agreemenl and subsequent thereto in order to ascertain and satisfy the liabilities of either
       Party to the other,



      3. BON APPBT1TS RESPONSIBILITIES

      A. Bon Appetit shall render its Services with appropriate merchandise of good quality at
      reasonable prices in accordance with both the service expectations below and with those
      line items in Exhibit B checked under "BAMCO.'" Service expectations are as follows:


                  (I)        Demonstrate a culinary culture with a passion for food, including: cooking
            from scratch with authentic ingredients; soureing fresh local produce and other
            products from local fanners; serving great tasting and nutritious food; and creating a
            special dining program customized to lit (he needs of Albion College.
                  (-)        S e r v e a w i d e v a r i e t y o f m e n u i t e m s a t e a ch m e a l , k e e p i n g t h i n g s f r e s h .
            fun, and interesting.
                  (3)         Demonstrate culinary talents with display cooking in front of guests,
                  (4)        Offer a restaurant-quality dining experience.
                  (5)        Support sustainability initiatives, including being socially responsible for
            the well-being of students, staff, guests, communities and the environment.
                  (6)        Offer plentiful vegetarian options at every meal.
                  (7)         Ensure that healthy menu items are a mainstream offering throughout all
            operations.

                                                                                                                                 Page 2 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.12 Page 4 of 51




                 (8)         Plan and execute catering events that both feed and inspire people.
                 ('))        Offer promotional events that recognize unique campus events and
           celebrate food and dining.
                 (10)        Provide customer service that enhances the dining experience,
                 (11)        Develop programs and standards that ensure quality and enforce food
            safety.


      B. Bon Appetit shall be responsible for development and implementation of an Annual
      Plan for the successful conlinuation of the Pood Service Program for each year of the
      Term (the "Annual Plan"). This is required by August 1, 2011 with respect to the 2011 -
      12 eontract year, and on or before February 1, 2012 with respect to the 2012-13 contract
      year, and every succeeding February 1 during the term with respect to the following
      c o n t r a c t y e a r . T h e A n n u a l P l a n s h o u l d b e b a s e d o n id e n t i l l e d g o a l s a n d o b j e c t i v e s a s
      established and determined in collaboration with the Client's management. It is
      understood that the Annual Plan will consist of a projection based on predicted
      programmatic features and estimated 'financial results. The plan must include each of the
      following in detail reasonably acceptable to the Client:
              CD      Kvahialion of Albion College's dining program versus best practices in
          collegiate dining.
              (2)     On-campus and peer-campus surveys.
              (3)     Meal plan configuration, pricing, policies, and recommendations.
              (4)     Catering menus, pricing, and policies.
              (5)     Residential dining and retail menus, concepts, and hours of operation.
                  CO          Wellness programs,
                  (7)         Financial projections: revenue and expense by month/year.
                  (8)         Capital expenditure recommendations.
                  (9)         Continuous improvement plan,
                  (10)        Marketing plan.



      C. Bon Appetit shall comply with all federal, state and local laws and regulations,
      including but not limited to those governing health and safety, non-discrimination, wages
      and hours of employment, and the preparation, handling and serving of foods. Bon
      Appetit shall procure and keep in effect all licenses and permits required by law and shall
      post such permits as required by law, Bon Appetit shall comply with applicable federal,
      state and local laws and regulations pertaining to wages and hours of employment, In
      accordance with Hxeeulive Order 11246, as amended. Section 503 of the Rehabilitation
      Act of 1973, as amended, and the Vietnam Bra Veterans' Readjustment Act of 1974, as
      amended, the Parties hereby incorporate the requirements of 41 C.F.R, §§60-1.4(a)(7),
      60-250.5 and 60-741.5. if applicable.

      D. Bon Appetit shall (1) hire all employees necessary for the performance of this
      Agreement. (2) hire qualified existing non-management staff covered by the existing
      Collective Bargaining Agreement between Albion College - Albion, Michigan and
      MEA/NliA, representing the Albion College Educational Support Personnel Association
      Facilities Operations - Dining And Hospitality Services Employees dated July 1, 2009 -

                                                                                                                                 Page 3 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.13 Page 5 of 51




      J u n e 3 0 , 2 0 1 2 , a n d ( 3 ) g i v e p r e f e r e n t i a l consideration t o qualified e x i s t i n g m a n a g e m e n t
      and part-lime staff. All employees (excluding those previously employed by Client) shall
      be subject to a background check and to such health examination as proper federal, stale
      and local authority may require in connection with their employment as a condition of
      employment with Bon Appetit. All persons employed by Bon Appetit will be the
      employees of Bon Appetit and not employees of Albion College. Bon Appetit will
      maintain employee dishonesty insurance for the benefit of the Client and Bon Appetit,
      which will be applicable to all of its employees. In performing work required by this
      Agreement, Bon Appetit shall not discriminate against any employee or applicant for
      employment because of race, religion, sex. color, national origin, sexual orientation, age,
      or other legally protected characteristic, in violation of federal, state or local law.

      11, B o n AppcMit m u s t k e e p a l l r e c o r d s p e r t a i n i n g t o w o r k p e r f o r m e d i n a c c o r d a n c e w i t h
      this Agreement for a period of six (6) years from the date the record is made or longer if
      required by any proper federal, state, or local authority.       Bon Appetit shall, upon
      reasonable notice, give the Client or its authorized representative the opportunity at a
      reasonable time during normal business hours to inspect, examine, audit and copy such of
      Bon Appetit's business records which are directly relevant to the financial arrangements
      set forth in lixhibit A, which is attached hereto and incorporated herein by this reference.
      The cost of such inspection, examination and audit will be at the sole expense of the
      Client and such inspection, examination and audit shall be conducted at the Bon Appetit
      locations where said records are normally maintained.

      F. Bon Appetit agrees that its employees, vendors, and agents shall comply with and
      observe all applicable rules and regulations concerning conduct on the Premises that
      Client imposes upon Client's employees, vendors, and agents. Bon Appetit further agrees
      (hat its employees, vendors, and agents shall not discriminate against, harass, assault or
      engage in other unlawful conduct toward the Client's employees, students, or other
      persons on the Client's Premises,

      (i. Client currently has an exclusive beverage contract with Pepsi Bottling Group, an
      exclusive linen rental contract with Sohn Linen Service, and an exclusive custodial
      contract with ABM Janitorial Services. Client shall provide copies of such agreements to
      Bon Appetit prior to the commencement of this Agreement, and shall not amend or
      modify same without giving Bon Appetit prior written notice. Client is excused from any
      of its obligations under this agreement to the extent they conflict with Client's obligations
      under any of those contracts. Bon Appetit shall adhere to all aspects of these established
      agreements, as well as any other current or future contracts entered into by the Client.
      Notwithstanding the foregoing. Client will ensure that any such agreements do not impair
       Ihe quality of the food and beverage items served by Bon Appetit (as compared to
       comparable items served at other similar venues in which Bon Appetit or its affiliates
       provides food and beverage service) or increase the costs for such items (as compared to
       the Bon Appetit pricing for comparable items of similar size and quality).

       11. B o n A p p e t i t s h a l l :




                                                                                                                           Page 4 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.14 Page 6 of 51




            (1) Allow designated College personnel to have access at all times to all spaces
                  assigned to Bon Appetit. The College will maintain keys and access cards to all
                  facilities.
            (2) Perforin procedures for cash collection and handling in accordance with the
                  C' o 11 e g e ' s r e q u i r em e n t s .
            (3) Promptly notify College management of any unsafe, unlawful or unhealthy
                  conditions of any type of which Bon Appetit becomes aware, and. to the extent
                  Bon Appetit is responsible for such conditions, take appropriate action to remedy
                  the condilion(s).
            (4) I n f o r m C o l l e g e m a n a g e m e n t o f a n y p e r s o n a l i n j u r i e s a n d a c c i d e n t s , w h i c h r e q u i r e
                  medical treatment, as well as actions or activities of Bon Appetit employees that
                  occur on College premises resulting in police or other emergency response,
            (5) P r o v i d e a n i n v e n t o r y o f a l l e q u i p m e n t a n d s m a l l w a r e s t o C o l l e g e m a n a g e m e n t
                  annually on June 3()lh.


      I.       For events where alcoholic beverages arc served by Bon Appetit employees, such
      employees shall be required to be trained and certified in service of alcohol. Upon
      request, proof of certification shall be provided to the College, Any service of alcohol
      shall be done in accordance with College policies as well as slate and local laws,
      regulations and ordinances.


              Bon Appetit shall continue to provide services under the contract in the event of
      s t r i k e s a n d o t h e r l a b o r d i s t u r b a n c e s , it b e i n g u n d e r s t o o d ( h a t s u c h s e r v i c e s s h a l l n o t b e
      limited in nature. Bon Appetit shall be required to provide food service under emergency
      and/or unpredictable circumstances such as equipment failure, tire, pandemic, power
       failure, weather emergencies, etc, it being understood that such service may be limited in
      nature. The College reserves the right to immediately close dining facilities and/or
      operations to protect the health of students, employees, and guests.


       K.       In a d d i t i o n t o t h o s e r e s p o n s i b i l i t i e s a b o v e , a n a d d i t i o n a l list o f t h e P a r t i e s '
      responsibilities is set forth in Exhibit B, which is attached hereto and incorporated herein
       by this reference. Exhibits C and D outline locations and hours of operation,
       respectively, and are attached hereto and incorporated by this reference.



       4. CLIENT'S RESPONSIBILITIES

      A. Client shall, without cost to Bon Appetit, provide Bon Appetit with the necessary
      space for the operation of the Services and shall furnish, without cost to Bon Appclil, all
      utilities and Facilities reasonable and necessary for the efficient performance of this
      Agreement by Bon Appetit. As of the date of this agreement. Albion College represents
      that its facilities, equipment and utilities are adequate to provide Bon Appetit services as

                                                                                                                                               Page 5 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.15 Page 7 of 51




      is. and Bon Appetit accepts Client's facilities as is and acknowledges they are presently
      adequate for lion Appetit services.

      B. Client shall, at i t s cost and expense, provide the Facilities, equipment and floor space
      necessary for the efficient provision of Bon Appetites Services hereunder. The Client
      shall maintain, repair and replace said equipment and Facilities at its own expense. The
      Client shall keep such equipment and Facilities maintained in a sale operating condition
      such that no lion Appetit employee is exposed to or subjected to any unsafe situation
      which would violate the Occupational Safety and HeallTi Act including, but not limited
      to, the general duty and the specific duty clauses thereof or any other similar federal, state
      or local law or regulation. However, if equipment provided by Client becomes
      inoperative, hazardous or inefficient to operate. Bon Appetit will contact Albion
      C o l l e g e s ' f a c i l i t y m a i n t e n a n c e a n d p r o v i d e it w i t h a n o p p o r t u n i t y t o c o r r e c t t h e s i t u a t i o n
      before ordering repairs to the equipment by a third party. Client shall permit Bon Appetit
      (o have (he use of all such equipment and Facilities in the performance of its obligalions
      hereunder, subject to the duty to exercise reasonable care in the use thereof. Bon Appetit
      agrees that all equipment and items of equipment now or hereafter furnished by the Client
      to Bon Appetit are the sole properly of the Client and Bon Appetit agrees not to change,
      deface, or remove any symbol or mark of identity upon said equipment or items of
      equipment furnished by the Client.

      C. A l l employee benefits accrued by the Client or the previous food service management
      provider prior to the eommenceinent date of (his Agreement shall be paid as a cost to the
      Client. Bon Appetit will pay only those employee benefits accrued during the Term of
       this Agreement.

      D. C l i e n t s h a l l p r o v i d e l i o n A p p e t i t w i t h access to its b o a r d plan t r a c k i n g systems to
      enable Bon Appetit to track and reconcile student meal plan participation in the meal
      plans, as wells as actual meal plan and declining balance usage, and to enable Bon
      Appetit to generate reports to assess metrics of the Dining Service Program, Client shall
      notify Bon Appetit in writing of changes to meal plans.

      5. FINANCIALARRANGBMENTS

      The financial arrangements of this Agreement are set forth in Exhibit A. The financial
      t e r m s h a v e b e e n n e g o t i a t e d b e t w e e n t h e P a r t i e s u p o n t h e c o n d i t i o n that: C l i e n t w i l l
      require all students residing on the Premises to participate in a meal plan excluding
      fraternity housing, annex housing with cooking facilities, eomniuters and exceptional
      situations as determined by the Client, and that Bon Appetit will operate its Services at
      the same points of Service and remain in operation only the hours listed in Exhibits C and
      D when Bon Appetit begins operations hereunder.

      Client may change the meal plan participation requirement and may desire Bon Appetit
      to operate its Services for additional points of Service and/or additional hours. In such
      circumstances. Client and lion Appetit shall mutually agree on the appropriate financial




                                                                                                                                          Page 6 of26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.16 Page 8 of 51




      arrangements for the new level of meal plan participation and additional points of Service
      and/or additional hours,



      6. INDEMNIFICATION AND INSURANCE

      A, To the fullest extent permitted by law. each Party shall indemnify, defend and hold
      the other harmless from any and all losses, damages or expenses, including reasonable
      attorneys' fees, arising out of or resulting from claims or actions for bodily injury, death,
      sickness, property damage or other injury or damage caused by any negligent act or
      omission of such Party, any willful misconduct of such Party, or any breach by such
      Party of its obligations under this Agreement.

      B. A party seeking indemnification must give prompt written notice to the Party
      obligated to provide indemnifieation (the 'Indemnifying Party") of any claim, action or
      demand for which indemnity is claimed; control ofthe investigation, preparation, defense
      and settlement thereof by the Indemnifying Party: and such reasonable cooperation by the
      Indemnified Party, at the Indemnifying Party's request and expense, in the defense ofthe
      claim. The foregoing notwithstanding, failure or delay in giving notice does not affect
      the obligation to indemnify except to the extent that the failure or delay causes prejudice
      to the indemnifying parly, The Indemnified Parly shall have the right to participate in the
      defense of a claim with counsel of Indemnifying Party's choice and at its expense. The
      Indemnifying Party shall not, without the prior written consent ofthe Indemnified Party
      (which shall not be unreasonably withheld), settle, compromise or consent to the entry of
      any judgment that imposes any liability upon the Indemnified Party.

      C. Bon Appetit shall obtain and maintain insurance for the following risks in such
      amounts under such policies as indicated, it being understood that minimum required
      policy limits may be required through a combination of primary and excess insurance;
      general liability, $2,000,000 (including contract, liquor, products-completed operations);
      a u t o m o b i l e l i a b i l i t y . $ 1 , 0 0 0 , 0 0 0 ; u m b r e l l a l i a b i l i t y , $ 5 . ()()(),000: a n d W o r k e r s '
      Compensation, $1,000,000 (including employer's liability coverage).

       D. Bon Appetit must deliver to Client certificates of insurance for such coverage and,
       excluding Worker's Compensation coverage, naming the Client as an additional insured
       before commencing operations.

       E. Client shall obtain and maintain insurance for the Premises, equipment, offices and
       utilities against: risks covered by standard forms of fire, theft and extended coverage in
       such amounts under such policies as appropriate.

       F, Each Party lias the obligation and responsibility to adequately insure its real and/or
       personal property against loss or damage caused by lire and extended coverage perils.
       The Parties waive all rights of recovery against each other and their subsidiaries, officers,
       directors, trustees, volunteers and employees, including subrogation rights, for such loss
       or damage to the waiving Party to the extent of insurance proceeds actually received.


                                                                                                                            Page 7 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.17 Page 9 of 51




      7. TAX US AND ASSJiSSMHNTS


      A. Bon Appcth shall pay when due all federal, slate, local and other governmental taxes
      or assessments in connection with the operation and performance of the Services, with
      (he exception of sales lax. The Parlies acknowledge that even if the Client is tax exempt.
      Client may be liable for the remittance of state sales tax for the sale of food, beverages,
      meals and/or Services. Bon Appetit will endeavor to structure its purchases on the
      Client's behalf to maximize the application of Client's tax exempt status for sales tax
      purposes, and Client shall cooperate with such efforts, including execution of any
      documents required to utilize such tax exempt status.


      R. Based on relevant statutes, the Parties will determine whether the sales of food and
      beverages ("Service Transactions") are subject to sales, gross receipts or similar tax. The
      Parlies will then determine whether the sales, gross receipts or similar tax will be
      collected by Client or Bon Appetit for remittance to the appropriate state department of
      revenue. If Client is liable for such sales, gross receipts or similar tax. Client's tax
      l i a b i l i t y w i l l n o t b e w a i v e d b y B o n A p p e t i t e i t h e r c o l l e c t i n g t h e t a x o r a c c o u n t i n g fo r t h e
       t a x i n its o p e r a t i o n s .

      C. The Client shall pay when due all federal, state, local and other governmental use and
      property taxes or assessments arising in connection with the Premises. Facilities,
      equipment, offices and utilities. Bon Appetit shall pay when due all property taxes on its
      personal property and all license and permit fees in connection with Services. The Client
      shall reimburse Bon Appetit for all license and permit fees paid in connection with
       Services.

       8. CONFIDENTIALITY

               In the course of providing Services hereunder, (he Parties may be exposed to trade
       secrets or other confidential or proprietary information and materials of the other Party
       which includes, but is not limited to, menus, recipes, signage, food service surveys and
       studies, management guidelines, procedures, operating manuals and software, all of
       which shall be identified as confidential ("Confidential Information"), The Parlies agree
       to hold in eonlidencc and not to disclose any Confidential Information during the Term of
       this Agreement and for two (2) years afterward, except that the Parties may use or
       disclose Conlidential Information: (a) to its employees and affiliates or others to the
       extent necessary to render any service hereunder, provided that the other Parly is first
       notified of the information that will be provided to any party outside of this Agreement
       and provided further that such information is disclosed only after such party is required to
       maintain it in confidence as required hereunder; (b) to the extent expressly authorized by
       either Party; (e) to the extent that at (he time of disclosure, such Confidential Information
       is in the public domain, or after disclosure, enters the public domain other than by breach
       of the terms of this Agreement; (d) that is in the possession of either Party at the time of
       disclosure and is not acquired directly or indirectly from the other Party; (e) that is
       subsequently received on a non-confidential basis from a third party having a right to


                                                                                                                                       Page 8 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.18 Page 10 of 51




       p r o v i d e s u c h i n f o r m a t i o n ; o r (1) a s r e q u i r e d b y o r d e r d u r i n g t h e c o u r s e o f a j u d i c i a l o r
       regulatory proceeding or as required by a government authority. The Parties agree not to
       photocopy or otherwise duplicate any Confidential Information without the express
       written consent of (he other Parly. Bach Party's Conlidenlial Informalion shall remain the
       exclusive property of the Party and shall be returned to the other Party upon termination
       or expiration of this Agreement. In the event of any breach of this provision, the Parties
       shall be entitled to equitable relief in addition to all other remedies otherwise available to
       it a t l a w . T h i s p r o v i s i o n s h a l l s u r v i v e t h e t e r m i n a t i o n o r e x p i r a t i o n o f t h i s A g r e e m e n t .

       The privacy of all student information is protected by slate and federal law, For the
       purposes of this Agreement, any data provided by the College, and any other personal
       informalion about students, shall be considered confidential information and shall not be
       used by Bon Appctil except for the purposes of providing the services set forth in this
       Agreement. Bon Appctil shall adhere to the Albion College Privacy Rights policy found
       in the Student Handbook and provided to Bon Appelit in writing.

       9. 1 NDf'PBNDf-NT CONTRACTOR RRLATIONSIITP

       It i s m u t u a l l y understood a n d a g r e e d t h a t a n independent c o n t r a c t o r r e l a t i o n s h i p i s h e r e b y
       established under the terms and conditions of this Agreement.

       10. BMPBOY EES

       It i s m u t u a l l y u n d e r s t o o d a n d a g r e e d t h a t e m p l o y e e s o f B o n Appctit a r c n o t n o r s h a l l t h e y
       be deemed to be employees of Client and that employees of Client arc not nor shall they
       be deemed to be employees of Bon Appctit. Bon Appclifs employees performing any
       work on the Premises shall be subject to (he rules and regulations established by the
       Client as reasonable and necessary for its Premises, the Food Service Facilities,
       equipment, offices and utililies. During the Term of this Agreement and for one (1) year
       thercafler, neither Party may solicit to hire, hire or conlract with the other Party's
       ""Managerial Employees." "Managerial Employees" are employees who (1) worked for
       the other Party within one year prior to lermination or expiration of the Agreement, and
       (2) who managed any Services or employees of the other Party or who earned over
       $25,000 per year. Client will not permit Managerial Employees of Bon Appelit to be
       employed on the Client's Premises, for a period of one (I) year subsequent to the
       termination or expiration of this Agreement (unless such employees were formerly
       employees of the Client) whether as an individual or as owner, partner, majority
       sloekhokler. director, officer or employee of a food service provider, In the event of any
       breach of the non-solicitation obligations contained in this paragraph, the breaching Party
       shall pay and the injured Party shall accept an amount equal to twice the annual salary of
       the relevant employee as liquidated damages.




                                                                                                                                       Page 9 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.19 Page 11 of 51




       11, SPONSORSHIP

       Bon Appctit and the Client recognize the value of securing sponsorship relationships for
       the Client. Client and Bon Appetit agree that the)' will not compromise the quality of (he
       food and beverage Items served in the dining facilities in order to .secure a sponsorship.

       12. STUDBNT KMPI-OYKES AND STUDENT WAGES

       If the Client has a student work program, the Client may assign such number of student
       workers as waiters, dishwashers, cleaning personnel and other kitchen help as the Client
       and Ron Appelil shall agree, subject to the following terms and conditions,

               A. Bon Appetit acknowledges that student employees remain employees of
                  Client, and Client has ultimate control over their employment status.

               B. Client will retain any federal funds received for work/study students.

              C. Bon Appetit shall have full daily supervision of all such student help in
       connection with their employment hereunder.

               1).     Bon Appetit shall be responsible for the complete training of student
       e m p l o yees as it relates to their specific job duties, in particular student waiter/waitress
       staff.

                  Students will be compensated according to Client's student employment
       schedule unless otherwise agreed upon.

       13, BON APPETITS TITLE TO EQUIPMENT

       All equipment, installed by Bon Appctit pursuant to the provisions of this Agreement is
       and shall at all times remain the property of Bon Appetit, with title vested in Bon Appctit.
       Client shall have no properly interest in said equipment. Client agrees to permit only
       employees and agents of Bon Appetit to move, remove, open or tamper with she
       equipment of Bon Appetit. Client may require Bon Appetit to relocate equipment for
       safety or security reasons.

       14. PROPRIETARY MARKS

       The Client acknowledges that the names, logos, service marks, trademarks, trade dress,
       trade names and patents, whether or not registered, now or hereafter owned by or licensed
       to Bon Appctit or its affdiated and parent companies (collectively "Marks") are
       proprietary Marks of Bon Appetit. The Client will not use the Marks for any purpose
       except as expressly permitted in writing by Bon Appctit. Upon termination of this
       Agreement, the Client shall discontinue the use and display of any Marks and shall allow
       Bon Appetit to remove all goods bearing any Marks—Marks include, but are not limited




                                                                                        Page 10 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.20 Page 12 of 51




       to, Bon Appetit, BAMCO, Food Services for a Sustainable Future, Farm (o Fork, Eat
       Focal Challenge, Low Carbon Diet Day, and Bravo.

       Bon Appetit acknowledges that the names, logos, service marks, trademarks, lratio names
       and patents, whether or not registered, now or hereafter owned by or licensed to Albion
       College (collectively "Marks'") are proprietary Marks of the College. Bon Appelit will
       not use the Marks for any purpose excepl as expressly peimitted in writing by the
       College. Upon lermination of this Agreement, Bon Appetit shall discontinue the use and
       display of any Marks and shall return to the College all goods bearing any Marks.

       15. INFORMATION TECHNOLOGY SYTEMS

               In c o n n e c t i o n w i t h t h e s e r v i c e s b e i n g p r o v i d e d h e r e u n d e r . B o n A p p e t i t m a y n e e d
       to operate certain information technology systems not owned by Client ("'Non-Client
       Systems"), which may need to interlace with or conned to Client's networks or
       information technology systems ("Client Systems"). Bon Appetit shall be responsible for
       all Non-Client Systems, and Client shall be solely responsible for Client Systems,
       including taking the necessary security and privacy protections as are reasonable under
       the circumstances. If Non-Client Systems interface with or conned to Client Systems,
       then Client agrees to work with Bon Appetit. at its own expense, to determine the impact
       on Bon Appetit's compliance with the Data Prolection Rules, and make any necessary
       changes to ensure such compliance. Client will provide Bon Appetit, within a reasonable
       time period, notice of any change to its policies pertaining to Client Systems, or change
       in configuration of Client Systems, in order that Bon Appetit may assess the impact of
       suclv change upon the security of Non-Client Systems. Each party shall indemnify,
       defend and hold harmless the other party from all claims, liabililies. damages and costs
       (including reasonable lawyer's Ices) to the extent caused by the indemnifying parly's
       failure to comply with its obligations in this section.

       16. EXCUSED PERFORMANCE
       Bon Appdil will notify the Client promptly, in the event that performance of any terms or
       provisions hereof (other than obligations to make payments that have become due and
       payable pursuant lo this Agreement) shall be delayed or prevented because of compliance
       with any law. decree, or order of any governmental agency or authority, either local,
       state, or federal, or because of riots, war. public disturbances, differences with workmen,
       fires. Hoods. Acts of (rod, pandemic, epidemic, or any other reason whatsoever which is
       not within the control of the Party whose performance is interfered with and which, by
       the exercise of reasonable diligence said Party is unable to prevent, the Parly so suffering
       may at its option suspend, without liability, the performance of its obligations hereunder
       during the period such cause continues and may extend the Term of this Agreement for
       the period of such suspension of the performance of duties hereunder. This section does
       not apply, however, to strikes, other labor disturbances, or emergency or unpredictable
       circumstances under which Bon Appetit has a duty to provide services under section 3-J.




                                                                                                                             Page 1 I of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.21 Page 13 of 51




       17. ASSIGNMENT
       Neither Bon Appetit nor Client may assign or transfer this Agreement, or any part
       thereol", w i t h o u t t h e w r i t t e n c o n s e n t o f t h e o t h e r P a r t y ,


       1 8 , HNTIRH AGREEMENT AND W A I V E R
       This Agreement constitutes the entire Agreement between the Parties with respect to the
       provision of Bon AppetiEs Services and supersedes all other written or oral
       understandings or agreements between the Parties with respect to the provision of Bon
       Appctifs Services on the Premises. No variation or modification of this Agreement or
       attached Exhibits and no waiver of their provisions shall be valid unless in writing and
       signed by the duly authorized officers of Bon Appetit and Client.

       19. SEVERABILITY
       Each term and condition, article, paragraph and subparagraph of this Agreement and any
       portion thereof, will be considered severable. If, for any reason, any portion of this
       Agreement is determined to be invalid, contrary to or in conllict with any applicable
       present or future law. rule or regulation in a final ruling issued by any court, agency or
       tribunal with valid jurisdiction, that ruling will not impair the operation of or have any
       other effect upon, any other portions of this Agreement: all of which will remain binding
       on (he Parties and continue to be given full force and effect.

       20. NOTICES

       Any notice (whether notice is a demand, permission, or other decision or communication)
       permitted or required under this agreement must be in writing, have its postage prepaid
       by the sender, and for mailed, lacsimile, or electronic mail delivery, must be addressed to
       (lie r e c i p i e n t a t t h e a d d r e s s l i s t e d b e l o w o r t o t h e a d d r e s s m o s t r e c e n t l y p r o v i d e d b y t h e
       sender to the recipient for formal notices after this agreement is signed. Notice is deemed
       given upon the earliest of: actual receipt; hand delivery in person; live days after being
       d e p o s i t e d i n t h e U n i t e d S t a l e s first c l a s s m a i l ; o n e b u s i n e s s d a y a f t e r b e i n g d e p o s i t e d w i t h
       a nationally recognized private overnight mail or courier service such as FedEx or UPS
       for next business day deli very; or the same business day the notice is sent by facsimile or
       electronic mail if sent before 5:00 p.m. local lime in the rccipienfs time /.one (otherwise,
       facsimile or electronic mail notice is deemed given on the next business day).

       To Client:                                        Albion College
                                                         Attention: Dr. Michael E. Erandsen
                                                         611 E Porter Street
                                                         Albion, Ml 49224
                                                         Facsimile No. 517-629-0505

       To Bon Appetit:                                   Bon Appetit Management Co.
                                                         Attention: Mr. Eedele Bauccio, Chief Executive Officer
                                                         100 Hamilton Avenue
                                                         Palo Alto, CA 9430!


                                                                                                                                       Page 12 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.22 Page 14 of 51




       with copies to:               Compass Group USA, Inc.
                                     Attention: General Counsel
                                     2400 Yorkmont Road
                                     Charlotte, North Carolina 28217
                                     Facsimile No. 704-329-4010

                                     Bon Appetit Management Co.
                                     Randy De Mers, Regional Manager
                                     404 Lincoln Ave
                                     Eric. PA 16505
                                     Facsimile No. 814-879-0797



       21.   GOVRRNING LAW

       This Agreement shall he governed by the laws of the State of Michigan, without giving
       effect to its choice of law principles.

       22. SETOFF

       Either Parly may deduct any sums owing from the other Party from any payments due to
       the other Party under this Agreement.

       23. NO LEASE

       This agrccmenl gives Bon Appetit no right of possession to real estate and is not a lease
       under Michigan law.

       IN WITNESS WHEREOF, the Parties have hereunto set their hands and seals as of the
       d a y a n d y e a r first a b o v e w r i t t e n .

       Albion College                               Bon Appetit iVjamgement Company
                                                                                    ft

                         /'   /
                                                                                )
       By:                                                    By:                        -"C.


                Dr. Michael L. Frandsen                               Fedele Bauccio
                Vice President for Finance & Administration           Chief Executive Officer


        Date:                                                 Dale:       V '       11




                                                                                         Page 13 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.23 Page 15 of 51




                                                                              EXHIBIT A

                                                           FINANCIAL ARRANGEMENTS

                                                                            Albion College

              A.           Management Fee Basis

        1. Bon Appetit shall provide the services hereunder on a Management Fee basis whereby
 Bon Appelil shall receive a Management Fee, as described herein, and shall be reimbursed for
 the Bon Appetit Costs of Business, as defined herein. Client shall pay all of the Client Costs of
  Business, as defined herein. Client will pay an annual Management Fee to Bon Appetit as
  follows:
                 (a) Year one (July 1. 2011 - June 30. 2012): a Base Management Fee of the
                     greater of $50,000 or 1 % of revenues, plus 50% of the excess of Revenues
                     Minus Costs of Business over $1,450,000. The total Management Fee for
                     year one may not exceed 3% of revenues

                          (b) Year two (July 1. 2012 - June 30, 2013); a Base Management fee of the
                              greater of $100,000 or 2% of Revenues, plus 50% of the excess of Revenues
                                 M inus Costs of Business over $1.450,000. The total Management Fee for
                                 year two may not exceed 3% of Revenues.

                          ( c ) Years three (July 1, 2 0 1 3 - June 1, 2014) and beyond: a Base Management
                                Fee of the greater of $ 1 5 0 , 0 0 0 o r 3 % o f revenues, plus 50%) of the excess of
                                Revenues Minus Costs of Business over $1,450.000, There is no cap on the
                                 Management Fee that can be earned.

               2. "Revenues" shall mean all moneys received for sales or Services rendered by Bon
  A p p e t i t at o r f r o m t h e P r e m i s e s , e x c l u d i n g s a l e s , g r o s s r e c e i p t s a n d o t h e r t a x e s c o l l e c t e d b y B o n
  Appetit or any other vendor as required by governmental authorities. "Revenues Minus Costs of
  Business" means, when calculating the additional management fee. Revenues Minus Costs of
  Business, as defined below, and including the base Management Fee.

        3. Bon Appetit will invoice Client for one-tenth of the estimated annual management fee,
 based on the Annual Plan, or $150,000, whichever is greater, in ten equal monthly installments
 beginning in August of each contract year. Payment by Client is due in accordance with the
 terms described in R below. No later than July 31 following that tenth payment. Client will
 calculate the difference between the actual management fee owed and the estimate paid, Any
 amount owing to Bon Appetit will be added to the ClienFs Advance Payment (see F. below).
 Any overpayment will be subtracted from that next Advance Payment.


         4. Client shall pay to Bon Appetit an amount equal to Bon Appetit's Cost of Business,
  Costs of Business shall be determined on an accrual basis and shall consist of those items defined
  in Exhibit E in order for Bon Appdtit to execute the responsibilities set forth in this Agreement.




                                                                                                                                              Page 14 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.24 Page 16 of 51




         5. Bon Appetit's Costs of Business under Exhibit B include any change in payroll tax and
 aii\'new payroll tax. If a governmental taxing authority determines at any lime that sales tax
 applies to goods or services included in those Costs of Business in spile of Bon Appetit's use of
 Client's tax cxernpiion as described in section 7, and Client has not already paid Bon Appetit for
 thai sales lax, then Client will pay that tax to Bon Appetit within 30 days after receipt of an
 invoice.



             B.          I n v e s t m e n t and Pro-Opening Expenses

                 Bon Appetit will fund an Investment in the Client's dining service program to fund
 capital improvements lo the Client's premises to facilitate the dining service program, and to
 fund Pre-Opening Kxpenscs, in a total sum not to exceed Three Hundred Twenty- three
 T h o u s a n d ($323.()(!()) D o l l a r s ( c o l l e c t i v e l y , ( h e ' ' I n v e s t m e n f ' ) , T h e p o r t i o n o f t h e I n v e s t m e n t
 aUribuled to capita! improvements will not exceed One Hundred Twenty Thousond ($120,000)
 Dollars, and the portion of the Investment attributed to Pre-Opening lixpenses shall not exceed
 Two I kindred Three Thousand ($203,000) Dollars, The portion of the Investment attributed lo
 capital improvements will be disbursed for Items and on a schedule as agreed by Bon Appetit
 and Clienl. The portion of the Investment attributed to capital improvements will be amortized
 on a straight line basis from July 1, 2011 through June 30. 2021 as a Cost of Business. The
 Invcstmenl attributed lo Pre-Opening Expenses will be amortized on a straighl line basis from
 Juh' 1. 2011 through June 30 2016 and will not be treated as a Cost of Business. The Client
 shall hold iitle to items funded by the Inveslment. Pre-opcning Expenses include, but arc not
 limited to. travel, meals, lodging, opening promotions and advertising, accounting and operating
 manuals and systems, inlerviewing and relocation, salaries and fringe bene (its, crew training, and
 other expenses related to preparing for. and commencing performance of services for the 2011­
 2012 academic year. If the Agreement expires or is terminated for any reason prior to the full
 amortization of the Investment attributed to capital improvements, the Client is liable for and
 promises to pay to Bon Appetit: the unamortized portion of the Investment and Interest attribuled
 to capital improvements immediately upon expiration or termination, if the Agreement is
 term mated for cause by the Client or for any reason other than cause by Bon Appetit prior to the
 full amorlization of the Investment and Interest attributed lo pre-opcning expenses, the Client
 will not be liable for the unamortized portion of the Investment and Interest attributed lo prc-
 opening expenses. If the Agreement is terminated by the Client for any reason other than cause
 or by Bon Appetit for cause prior lo the full amortization of the Investment and Interest
 atlributed to pre-opcning expenses, the Client is liable for and promises to pay lo Bon Appetit the
 unamorli/.ed portion of the Investment and Interest attributed to pre-opening expenses
 immediately upon expiration or termination. Bon Appelit will provide the Client with a full
 accounting of Investment expenditures.



                          F u t u r e Investments

                          I 'UUire f u n d i n g t o C l i e n l b y B o n A p p e l i t f o r e n h a n c e m e n t s l o the P r e m i s e s ,
 eonstrucllon, etc., up to a maximum of $2.000,000 ("Future Inveslment"). may be provided by
 m u t u a l w r i t t e n a g r e e m e n t o f C l i e n t a n d B o n A p p e l i t , il b e i n g u n d e r s t o o d t h a t s u c h a g r e e m e n t
 will provide for amorlization of Future Investment as a Cost of Business, that the Client shall

                                                                                                                                        Page 15 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.25 Page 17 of 51




 hold title to items funded by Future Investment, and that in the event of expiration or termination
 of Ihe Agreement prior to the full amortization of the Future Investment, the Client will be liable
 for and will pay to Bon Appetit the unamortized portion of the Future Investment immediately
 upon expiration or termination.

            S).        Credit Terms

                 Bon Appetil will issue a single invoice to Client each month. All amounts due to
 Bon Appetit shall be paid by the end of the month in which (he invoice is received or within
 lifteen (15) days of the invoice date, whichever is later, or will be considered past-due. Past-due
 amounts due to Bon Appetit will be subject., at Bon Appetifs option, to a service charge of up to
 0.5% per month of the unpaid balance. All costs of collection of past-due amounts including, but
 not limited to, reasonable attorneys' fees and costs, shall be chargeable to and paid by the Client.

            E.         Advance Payment

 Client shall provide to Bon Appetit an advance payment ("Advance Payment") equal to
 $ 150,000.00 to be billed no sooner than August of each academic year. The Advance Payment
 shall be paid to Bon Appetit within the terms described in E above. Bon Appetit shall deduct the
 Advance Payment from the final invoice at the end of the then current academic year and provide
 the Client with a statement of reconciliation.

            P          Catering

                  Bon Appetil shall provide catering services to Client on and off Premises as
  requested. Evcnl arrangements shall be negotiated by the Parties on an event-by-event basis. Bon
  Appetit shall invoice Client for the cost of catering services on a monthly basis. Payment by
  Client is due in accordance with the terms described in B above.

             G.         Payroll - T & B Rates

                 A Hat charge of 32 percent of gross payroll for managerial employees and 47.5 of
  gross payroll for union employees will be charged to cover payroll taxes and employee benellt
  costs.   Such costs include medical plans, life insurance, FICA. FU1, SUL Workers'
  Compensation insurance, state disability insurance, 401 (k) and payroll and benellt plan
  preparation and processing. This rate may change as benefit, tax and other associated costs
  change.

             i-l.       Bon Appetit Vendors

                   In c o n n e c t i o n w i t h S e r v i c e s p r o v i d e d h e r e u n d e r . B o n A p p e t i t s h a l l p u r c h a s e
  inventory, equipment, and services from various sellers and vendors selected by Bon Appetit
  (each a '"Vendor"). Purchases from Vendors shall be made under terms Bon Appetit deems
  acceptable ("Vendor Terms"). In the case of both vendor selection and the establishment of
  vendor terms. Bon Appetit will act in accordance with the Client's best interests. All Vendor
  Terms are the exclusive obligation and property of Bon Appetit. Client does not have any
  liability under, or any right to, any Vendor Terms and no Vendor Terms will operate to reduce or


                                                                                                                              Page 16 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.26 Page 18 of 51




 o t h e r w i s e alTeet t h e a m o u n t o r p e r f o r m a n c e o f C l i e n t ' s p r e s e n t a n d f u t u r e l i a b i l i t i e s , o b l i g a t i o n s
 of payment and perfornuince, or indebtedness.



                          Termination

              Termination of this agreement does not affect any obligations incurred before
 t e r m i n a t i o n . In t h e e v e n t o f a t e r m i n a t i o n f o r a n y r e a s o n , a l l a m o u n t s o u t s t a n d i n g s h a l l b e c o m e
 due and payable to Bon Appetit within thirty (30) days after termination.




                                                                                                                                                Page 17 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.27 Page 19 of 51




                                                  EXHIBIT B
                    AtldiHonai Responsibilities for Operational Execution (see section 3-K)



 Section 1.                FOOD and SUPPIIES for defined operations (see Exhibit C)                    •E
 Processing oHnvoices                                                                                         X
 Payment of Invoices                                                                                          X
 Food Purchases                                                                                               X
 Paper/Disposables Purciiases^                                                                                X
 CI e a n i n g C h e m i c a l s P u r e h a s e s                                                           X
 Purchasing or renting laundry and linen                                                                      X
 Furnishing uniforms                                                                                          X
 Purchase of Office supplies                                                                                  X
 Replacement of china/glass/silverware                                                                        X
 Purchase of other non-capital supplies (more than $50, less than $1,000)
 Sertionzr                  NON-MANAGEMENT LABOR                         "                             m-Ji              HON
 Payment of regular full-time wages                                                                           x
 Payment of part_-time_wages                                _                  __                             X
 P a y m e n t o f s t u d e n t w a g e s (includes work study and non-work study)                                      X
 Payment of and tracking for sick leave_                                 _                                    X
 Payment of holiday time                                                                                      X
 Processing Payroll taxes                                                                                     X
 Providing fringe benefits and insurance
 Providing Tuition remission benefits                                                                                    X
 Preparation of payroll                                                                                       X
 Processing of payroll                                                                                        X
 Training and development of employees                                                                        X
 Section 3.                 MANAGEMENT LABOR                                                            1                3E
 Payment of Salaries                                                                                          X
  payroll Taxes, fringe benefits and insurance                                                                X
 Providing Tuition remission benefits
 Section 4~                 ADDITIONAL ITEMS                                                           EEmEEEI
  Providing Telephones and service                                                         _      _                      X
  Removal of trash and garbage from kitchen                                                                   X
  Depreciation of equipment and investment                                                                               X
 Conducting inventory of dishes, silverware, and other food equips                                            X
  Replacement of expendable equipment (pots, pans, etc.)                                                      X
  Repair to infrastructure (vents to outside, gas line, electrical, etc)                                                 X
  Repairing of equipment not otherwise described in this section 4, and except for                                       X
  repairs described in section 6 as BAMCO's responsibility
 Copying and p r i n t i n g                                     _                                            X
  Gas and electric utilities metered to food service                                                                     X
  Postage and shipping                     __         ___                                                     X
 State/County health department food licenses                                                                 X
  Vehicle insurance, maintenance, fuel (one catering truck)                                                               X
  Online marketing/communication (menu's and                      inf0_rm?ticLn   at www.albion.edu)          X


                                                                                                                  Page 18 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.28 Page 20 of 51




 Conducting Physical inventory of food and supplies (minimum of 12/31 and                                                     X
 6/30 annually)
 Providing Purchasing credit cards (for key managers)                                                                         X
 Software licenses - general                                                                                                  X
 S o f t w a r e l i c e n s e s- P O S s y s t e m s a n d f o o d m a n a g e m e n t s o f t w a r e ^                     X
 Signage and marketing displays                                                                                               X
 Establish and maintain customized web site for the dining program                                                            X
 Sections.                   SALES AIMD USE TAX                                                                                          :1[«.
 Processing Sales & Use taxes non-board plan sales                                                                  _                    X
 Processing Sales & Use Tax on Board Plan revenue                                                                                        X
 Section 6.               _ CLEANING                                                                        ^           BAMCO         ALBION
 Equipment and ventilation hoods (Baldwin, Eat Shop, Bellemont), except for oil                                               X
 and grease removal described in s e c t i o n ^                                                                    _
 Vents from hoods to outside                                                                                                             X
 £I o o r s i n k i t c h e n / f o o cl p r e p a r a t i o n a r e a s                                                                 X
 Floors in dining areas (customer areas)                                                                                                 X
 Floors in storage areas                                                                                                      X
 Floors, walls, fixtures in public areas (stairwells, halls, lobby)                                                                      X
 Walls (6 ft and below)
 Walls (above 6 ft)                                                                                                                      X
 Ceilings and fans                                                                                                                       X
 Light fixtures                                                                                                                          X
 Tables and chairs                                                                                                            X
 Break rooms/lockers (foodservice associates)                                                                                 X
 Public Restrooms                                                                                                                         X
 Section 7.                _ SERVICES '                                                                                 \Tt              :][•
  Banking receipts (deposit/transaction receipts for reconciliation)
 Credit Card transactions/daily batch                                                                                         x
  Perform daily cash handling, revenue reconciliation, and deposits, on behalf of                                             X
 Client, in accordance with College policies and procedures
 Arranging Credit Card agreements/banking                                                                                                 X
 Contracted Service - Pest control                                                                                                        X
 Custodial Services                                                                                                                       X
  Repair/Maintenance Service Contracts (Hobart, etc), but for only equipment                                                              X
  that this agreement requires Albion to maintain                                                               _
  Lease Agreements                                     _                                                                                  X
 Trash removal except as otherwise described in section 4                                                                                 X
  Used fryer oil/grease removal
 Section 8.                   Conference Services and Lodging ( t h e s e o b l i g a t i o n s of BAMCO                TT1              ;][•
  control over any conflicting items in sections 1-7)
  Booking of lodging visitors                                                                                                 X
  Handling of keys and payment                                                                                                X

  Summer Conference housing                                                                                 _                 X
  Housekeeping (lodging) for private rooms and public space                                                                   X
  Reserving classrooms, athletic space, other, during non-academic calendar                                                   X
  season


                                                                                                                                  Page 19 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.29 Page 21 of 51




 Audio/Visual set-up, management (year-round for events managed by Dining       X
 and Hospitality Services), including projectors, microphones, sound
 Set up of rooms in non-dining areas (where functions/events occur managed by   X
 Dining & Hospitality Services)        _
 Cleaning of residence hall rooms usedl_bycamp/con fere nee attendees
 Cleaning of public spaces during camps/conferences                             X
 Purchase and management of supplies for camps/conferences (lanyards,
 keycards/holders, key envelopes, etc)
 Purchase or rental, and management of, supplies for lodging (shampoo, soap,    X
 hair dryers, toilet tissue, towels, sheets, etc)




                                                                                    Page 20 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.30 Page 22 of 51




                                         EXHIBIT C
             Locations of Responsibility for Bon Appctit IVIana^cmenl C Ompany



 Baldwin Hall
        Lower Baldwin Student Dining Hall
        Mary Sykcs Room and adjacent rooms (Faculty/Staff dining and catering)
        Upper Baldwin, catering and events

 Lai Shop Cafe & College Market (retail location in Kellogg Center)

 Sloekwell Library eolTee shop/caf<i (Name TBD: projected opening August 2011)

 Bcllemont Manor (lodging, catering, and events)

 Haven House and Michigan Avenue Guest House (lodging only)

 Briton Manor (President's residence - special food/bcveragc-related events as required)

 Other locations as necessary, including catered functions across campus in various locations




                                                                                    Page 21 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.31 Page 23 of 51




                                                         EXHIBIT I)
                                                      Hours of Operation

       Locaiirtii                                               Weekday              Salimhiy            Summer
                                                                  Hours                  and                and
                                                                                      Sunday               Break
                                                                                       Hours              Periods

       Dining & Hospilaiily Services                            8:00am-              Closed              Open ycar-
       o I 'lice-                                               5:00pin                                  rotind,
                                                                                                         except
                                                                                                         when
                                                                                                         C'ollcge is
                                                                                                         oHIciully
                                                                                                         closed

       Lower Baldwin Sludenl Dining                             7:0()ain-            8:00am-             Closed*
       Mall (all-you-eare-lo-eal residenlial                    8:0()pni             7:00pm
       dining)                                                  (N'l-Th)
                                                                                     (academic
                                                                7:00ain-             year)
                                                                7:30pni
                                                                (Fri)

                                                                (academic
                                                                year)

       Mary Sykes Room (Fnetilty/Stalf                          1 1:30am-            Closed              Closed
       dining)                                                  1:00pm


       B a l S h o p C a f e & C o l l e g e Market             11:30am-             6:00pm-             Closed
       (Kellogg Center retail location)                         Midnight             Midnight


       Stockwell Library coffee shop/cafe                       7:3(htm-             ('losed             TMD
       (Name TBI): opens August
                                                                lOiOOum              I'litlny
                                                                (M-I r )             iilkrnoon
       2 0 1 I)**
                                                                                     thru
                                                                7:00pin-             Sundny
                                                                1 1: 0 0 p m         allcmotin
                                                                (Su-Th)


       Catering and event locations                                                  As needed*
       (Upper Baldwin, Mary Sykes
       Room and adjacent meeting rooms,
       Bellemont Manor, others)


       Lodging facililies (Bellemont                                           365 days/year as needed
       Manor. Haven Mouse. Michigan
       Ave. Guest I louse)



                                                                                                    Page 22 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.32 Page 24 of 51




 -Open as needed, including catering, events, camps, and conferences
    Hours listed for library location are approximate and yet to be finalized. Grand Opening
 expected August 2011,




                                                                                     Page 23 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.33 Page 25 of 51




                                                    EXHIBIT E
                                            Bon Appctit's Costs of Business



 Bon Appctit's costs of business (to be paid as described in Exhibit A) are delined as customary
 and reasonable expenses, attributed directly to Bon Appetifs operation of the College's Dining
 & Hospitality Services Program, within the following categories:



                                                            Costs of Business

        Cost of food and beverages


        Salaries and wages


        Payroll taxes


        E m p l o y e e benefits, i n c l u d i n g w o r k e r 's compensation i n s u r a n c e


        Direct employee training expenses


        Uniforms


        Employee background checks and other hiring costs for non-managemen! personnel


        Laundry, linen rental, linen replacement


        Paper supplies


        Cleaning Supplies


        Office supplies


        Cellular telephone service and equipment as approved by the Contract Administrator


        Costs of contracted services approved by the College


        On-site printing


        Equipment maintenance and repair


        Catering vehicle costs


        liquipment rental


        Decorations and flowers


        Direct operating supplies and smallwares




                                                                                                    Page 24 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.34 Page 26 of 51




       Amortization ofcapital investment (as outlined in Exhibit A)


       C o s t s o f I n s u r a n c e P r e m i u m s f o r specified c o v e r a g e outlined in a g r e e m e n t .


       L i c e n s e a n d / o r f r a n c h i s e lees a s r e q u i r e d f o r c o n t r a c t s p r e - a p p r o v e d by t h e C o l l e g e


       Credit Card and bank card service fees


       Bank charges


       Costs associated with food and catering services contributed to the College


       Computcr/iechnology fees. Requires approval by the College


       Business taxes and licenses


       Waste removal


       C o s t s a s s o c i a t e d w i t h corporalely g e n e r a t e d m a r k e t i n g a n d / o r p r o m o t i o n a l m a t e r i a l s


       Hmployee r e l o c a t i o n e x p e n s e s f o r o n - s i t e m a n a g e m e n t s t a f f w i t h a d e l l n e d c a p ( p r e - a p p r o v a l
       from College needed)


       Any other reasonable expense not covered above (subject to College approval)




                    These items arc excluded from the definition of Bon Appetit's Costs .of Business;

       The expense of payroll computations and the disbursement of the payroll


       Wages/vSalaries/benefits/bonuses o f c o r p o r a t e office e m p l o y e e s a n d g e n e r a l a d m i n i s t r a t i v e ,
       executive, and management officers


       Corporate or regional office accounting expenses including costs of producing financial reports


       1 Ionic office management costs such as transportation of management personnel, and any other
       indirect management costs as related to this agreement


       Amounts paid as the result of negligence or willful misconduct of Bon Appetit or any of its
       agents or employees


       Legal expenses

       Insurance retentions o r deductibles under insurance policies specified in the agreement


       All taxes, except payroll, sales tax, and property lax


       Memberships in national groups or organizations of any type, unless specifically approved by the




                                                                                                                                                     Page 25 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.35 Page 27 of 51




       College's Conlracl Administrator

       Travel expenses of all personnel not directly assigned to Albion College

       Bon Appetifs personal or non-College use of (he facilities. Such use requires approval ofihe
       College's Contnic! Administrator

       Expenses for any Bon Appetit employees lo attend seminars or conferences of any type, except as
       specifically agreed to by the College's Contract Administrator

       Repairs to College-owned equipment necessary as the result of the acts or omissions of Bon
       Appelil employees

       Corporate accrual charges of nil types, except as specifically approved by the College

       Anything else not specifically set forth in (his agreement

       Expense of establishing and maintaining a cusiomized web site for the dining program (exception
       for costs incurred at the College, such as labor for periodic menu updates)




                                                                                           Page 26 of 26
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.36 Page 28 of 51




                               AMENDMENT NUMBER ONE TO
                               FOOD SERVICES AGREEMENT

          This Addendum Number One to Food Services Agreement, effective November 26,
  2012, is between Albion College ("Client") and Bon Appetit Management Company ("Bon
  Appetit") (collectively the "Parties").

          WHEREAS, the Client and Bon Appetit are parties to a certain Food Services Agreement
  dated June 8, 2011 (the "Agreement"), pursuant to which Bon Appetit manages the Client's food
  service operation and facilities; and

         WHEREAS, the Parties now desire to amend the aforesaid Agreement;

         NOW, THEREFORE, in consideration of the promises contained herein and for other
  good and valuable consideration, the Parties hereto agree as follows:

        1.      Definitions. All capitalized terms not otherwise defined herein shall have the
  meaning ascribed to them in the Agreement.

           2.     Amendment of Section 2, A. Section 2, A of the Agreement is amended to delete
  the first two sentences of such Section and replace them with the following:

         This Agreement shall become effective as of July 1,2011 and shall remain in force until
         June 30, 2028, unless terminated earlier as provided in Section 2,B or 2,C ("Term"). If
         neither Party has provided notice of termination at least ninety (90) days in advance of
         June 30, 2028, or June 30 of each year thereafter that this remains in effect, and if neither
         Party has terminated the Agreement early under Section 2.B. or 2.C., the Agreement will
         renew automatically for a one-year period.

                Amendment of Exhibit A, Section A, 1. Exhibit A, Section A.l of the Agreement
  is amended to delete paragraphs (b) and (c) and replace them with the following:

         (b) Year two (July 1. 2012 - June 30, 2013): a Base Management Fee of the greater of
             $100,000 or 2% of Revenues, plus 50% of the pxcess of Revenues Minus Costs of
             Business over $1,428,022. The total Management Fee for year two may not exceed
             3% of Revenues.

         (c) Year three (July 1, 2013 - June 30, 2014): a Base Management Fee of the greater of
             $150,000 or 3% of revenues, plus 50% of the excess of Revenues Minus Costs of
             Business over $1,267,282. There is no cap on the Management Fee that can be
             earned.

         (d) Years four (July 1, 2014 - June 30, 2015) and beyond: a Base Management Fee of the
             greater of $150,000 or 3% of revenues, plus 50% of the excess of Revenues Minus
             Costs of Business over $1,250,332. There is no cap on the Management Fee that can
             be earned.
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.37 Page 29 of 51




            4   Amendment of Exhibit A, Section B, Exhibit A, Section B of the Agreement is
  amended to insert the following at the end of such Section:

                     Bon App6tit will fund an additional Investment in the Client's dining service
            program to fund mutually agreed upon capital improvements to the Client's premises to
            facilitate the dining service program, in a total sum not to exceed Three Million
            ($3,000,000) Dollars (collectively, the "2013 Investment"). The 2013 Investment will be
            disbursed, and amortized on a straight line basis as a Cost of Business, in accordance
            with the schedule set forth below. The Client shall hold title to items funded by the 2013
            Investment. If the Agreement expires or is terminated for any reason prior to the full
            amortization of the 2013 Investment, the Client is liable for and promises to pay to Bon
            App^tit the unamortized portion of the 2013 Investment immediately upon expiration or
            termination, In the event the Agreement expires or is tenninated before any
            disbursements are scheduled to be made under the table below, Bon Appetit will not
            advance such additional disbursements.


                                                              Amortization Period
                 Disbursement Date       Installment          (See Exhibit F attached)
                 Not later than
                 May 1,2013              $2,000,000           May 2013 to June 2028
                 Not later than
                 October 1,2013          $1,000,000           October 2013 to June 2028



            5.      Insertion of Exhibit F. The Agreement is amended to insert Exhibit F attached
  hereto.

          6.      Confirmation and Integration. Except as expressly amended by this Amendment,
  the parties hereby confirm and ratify the Agreement in its entirety. The Agreement, as amended
  hereby, constitutes the entire agreement between the parties and their predecessors pertaining to
  the subject matter of the Agreement, as so amended, and supersedes all prior and
  contemporaneous agreements and understandings of the parties and their predecessors in
  connection therewith.

         7.      Counterparts. This Amendment may be executed In any number of counterparts,
  each of which shall constitute an original and all of which together shall constitute but one and
  the same original document.

          8.      Headings. The section headings herein are for convenience only and do not
  define, limit or construe the contents of such sections.



                                     EXECUTION PAGE FOLLOWS




                                                                                                         n
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.38 Page 30 of 51




          IN WITNESS WHEREOF, the parties hereto have caused this Amendment to be signed
  by their duly authorized officers, all done the day and year first written above.

  Albion College                            Bon Appglit Management Company

  By:                                       By:
           Michael L. Frandsen

  Title:   VP, Finance and Administration   Title:            d

  Date:    November 26, 2012.               Date:
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.39 Page 31 of 51




                                        EXHIBIT F
                             Amortization of Capital Investments



  Month-Year     July 2011 Investment     May 2013 Investment      October 2013 Investment
                     S120,000.00              $2,000,000.00             $1,000,000.00


       July-11        $1,000.00
     August-11        $1,000.00
    September-
            11        $1,000.00
    October-11        $1,000.00
    November-
           11         $1,000.00
  December-11         $1,000.00


    January-12        $1,000,00
   February-12        $1,000,00
     March-12         $1,000.00
      April-12        $1,000.00
       May-12         $1,000.00
       June-12        $1,000.00
       July-12        $1,000.00
     August-12        $1,000.00
    September-
            12        $1,000,00
    October-12        $1,000.00
    November-
           12         $1,000.00
  December-12         $1,000.00


    January-13        $1,000.00
   February-13        $1,000.00
     March-13         $1,000.00
      April-13        $1,000.00
       May-13         $1,000.00                $10,989.00
       June-13        $1,000.00                $10,989,00
       July-13        $1,000.00                $10,989,00
     August-13        $1,000.00                $10,989.00
    September-
            13        $1,000.00                $10,989.00
    October-13        $1,000.00                $10,989.00                 $5,650.00
    November-
            13        $1,000.00                $10,989.00                 $5,650.00
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.40 Page 32 of 51




  December-13     $1,000.00          $10,989.00          $5,650,00


    January-14     $1,000.00         $10,989.00          $5,650.00
   February-14     $1,000.00         $10,989.00          $5,650.00
     March-14      $1,000.00         $10,989,00          $5,650.00
      April-14     $1,000.00         $10,989.00          $5,650.00
       May-14      $1,000.00         $10,989.00          $5,650.00
       June-14     $1,000,00         $10,989.00          $5,650.00
       July-14     $1,000.00         $10,989.00          $5,650.00
     August-14     $1,000.00         $10,989.00          $5,650.00
    September-
            14     $1,000.00         $10,989.00          $5,650.00
    October-14     $1,000,00         $10,989.00          $5,650.00
    Noveraber-
            14     $1,000.00         $10,989.00          $5,650.00
  December-14      $1,000.00         $10,989.00          $5,650.00


    January-15     $1,000.00         $10,989.00          $5,650.00
   February-15     $1,000.00         $10,989.00          $5,650.00
     March-15      $1,000.00         $10,989,00          $5,650.00
      April-15     $1,000.00         $10,989.00          $5,650.00
       May-15      $1,000.00         $10,989.00          $5,650.00
       June-15     $1,000.00         $10,989.00          $5,650.00
       July-15     $1,000,00         $10,989.00          $5,650.00
     August-15     $1,000.00         $10,989.00          $5,650.00
    September-
            15     $1,000.00         $10,989.00          $5,650.00
    October-15     $1,000.00         $10,989.00          $5,650.00
    November-
            15     $1,000.00         $10,989.00          $5,650.00
  December-15      $1,000.00         $10,989.00          $5,650.00


    January-16     $1,000.00         $10,989.00          $5,650.00
   February-16     $1,000.00         $10,989.00          $5,650.00
     March-16      $1,000,00         $10,989.00          $5,650.00
      April-16     $1,000.00         $10,989.00          $5,650.00
       May-16      $1,000.00         $10,989,00          $5,650,00
       June-16     $1,000.00         $10,989.00          $5,650.00
       July-16     $1,000.00         $10,989.00          $5,650.00
     August-16     $1,000.00         $10,989,00          $5,650.00
    September-
           16     $1,000.00          $10,989.00          $5,650.00
    October-16    $1,000.00          $10,989.00          $5,650.00
    November-
           16     $1,000.00          $10,989.00          $5,650.00




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                                                                                    t/-
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.41 Page 33 of 51




  December-16     $1,000.00          $10,989,00          $5,650.00


    January-17    $1,000.00          $10,989.00          $5,650.00
   February-17    $1,000.00          $10,989.00          $5,650.00
     March-17     $1,000.00          $10,989.00          $5,650.00
      April-17    $1,000.00          $10,989.00          $5,650.00
       May-17     $1,000.00          $10,989.00          $5,650.00
       June-17    $1,000.00          $10,989.00          $5,650.00
       July-17    $1,000.00          $10,989.00          $5,650.00
     August-17    $1,000,00          $10,989.00          $5,650.00
    September-
            17    $1,000.00          $10,989.00          $5,650.00
    October-17    $1,000.00          $10,989.00          $5,650.00
    November-
            17    $1,000.00          $10,989.00          $5,650,00
  December-17     $1,000.00          $10,989.00          $5,650.00


    January-18    $1,000.00          $10,989.00          $5,650.00
   February-18    $1,000.00          $10,989.00          $5,650.00
     March-18     $1,000.00          $10,989.00          $5,650.00
      April-] 8   $1,000.00          $10,989.00          $5,650.00
       May-18     $1,000.00          $10,989.00          $5,650.00
       June-18    $1,000.00          $10,989.00          $5,650.00
       July-18    $1,000.00          $10,989.00          $5,650.00
     August-18    $1,000.00          $10,989.00          $5,650.00
    September-
            18    $1,000.00          $10,989.00          $5,650.00
    October-18    $1,000,00          $10,989.00          $5,650.00
    November-
            18    $1,000.00          $10,989.00          $5,650.00
  December-18     $1,000,00          $10,989.00          $5,650.00


    January-19    $1,000,00          $10,989.00          $5,650.00
   February-19    $1,000.00          $10,989.00          $5,650.00
     March-19     $1,000.00          $10,989.00          $5,650.00
      April-19    $1,000.00          $10,989.00          $5,650.00
       May-19     $1,000,00          $10,989.00          $5,650.00
       June-19    $1,000.00          $10,989.00          $5,650.00
       July-19    $1,000,00          $10,989.00          $5,650.00
     August-19    $1,000.00          $10,989.00          $5,650.00
    September-
            19    $1,000.00          $10,989.00          $5,650,00
    October-19    $1,000.00          $10,989.00          $5,650,00
    November-
            19    $1,000.00          $10,989.00          $5,650.00




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Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.42 Page 34 of 51




  December-19     $1,000.00          $10,989.00          $5,650.00


    January-20    $1,000.00          $10,989.00          $5,650.00
   February-20    $1,000.00          $10,989.00          $5,650.00
     March-20     $1,000.00          $10,989.00          $5,650.00
      April-20    $1,000.00          $10,989.00          $5,650.00
       May-20     $1,000.00          $10,989.00          $5,650.00
       June-20    $1,000.00          $10,989.00          $5,650.00
       July-20    $1,000,00          $10,989.00          $5,650.00
     August-20    $1,000.00          $10,989.00          $5,650.00
    September-
            20    $1,000.00          $10,989.00          $5,650.00
    October-20    $1,000.00          $10,989.00          $5,650.00
    November-
            20    $1,000.00          $10,989.00          $5,650.00
  December-20     $1,000.00          $10,989.00          $5,650.00


    January-21    $1,000.00          $10,989.00          $5,650.00
   Pebruary-21    $1,000.00          $10,989,00          $5,650.00
     March-21     $1,000.00          $10,989.00          $5,650,00
      April-21    $1,000.00          $10,989.00          $5,650.00
       May-21      $1,000.00         $10,989.00          $5,650.00
       June-21     $1,000.00         $10,989.00          $5,650.00
       July-21                       $10,989.00          $5,650.00
     August-21                       $10,989.00          $5,650.00
    September-
            21                       $10,989.00          $5,650,00
    October-21                       $10,989.00          $5,650.00
    November-
            21                       $10,989.00          $5,650,00
   December-21                       $10,989.00          $5,650.00


    Jaiiuary-22                      $10,989.00          $5,650.00
   February-22                       $10,989.00          $5,650.00
     March-22                        $10,989.00          $5,650.00
      ApriI-22                       $10,989.00          $5,650.00
       May-22                        $10,989.00          $5,650.00
       June-22                       $10,989.00          $5,650.00
       July-22                       $10,989,00          $5,650.00
     Aiigust-22                      $10,989.00          $5,650.00
    September-
             22                      $10,989.00          $5,650.00
    October-22                       $10,989.00          $5,650.00
    November-
            22                       $10,989.00          $5,650.00
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.43 Page 35 of 51




  December-22                        $10,989.00          $5,650.00


    January-23                       $10,989.00          $5,650,00
   February-23                       $10,989.00          $5,650,00
     March-23                        $10,989.00          $5,650.00
      Apnl-23                        $10,989.00          $5,650.00
       May-23                        $10,989.00          $5,650,00
       June-23                       $10,989.00          $5,650.00
       July-23                       $10,989.00          $5,650.00
     Augiist-23                      $10,989.00          $5,650.00
    September-
             23                      $10,989.00          $5,650.00
    October-23                       $10,989,00          $5,650.00
    November-
            23                       $10,989.00          $5,650,00
  Deccmber-23                        $10,989.00          $5,650.00


    January-24                       $10,989.00          $5,650.00
   Febriiary-24                      $10,989.00          $5,650,00
     March-24                        $10,989.00          $5,650.00
      April-24                       $10,989.00          $5,650.00
       May-24                        $10,989,00          $5,650.00
       Jcme-24                       $10,989.00          $5,650.00
       July-24                       $10,989.00          $5,650.00
     August-24                       $10,989.00          $5,650.00
    September-
          • 24                       $10,989.00          $5,650.00
    October-24                       $10,989.00          $5,650.00
    November-
            24                       $10,989.00          $5,650.00
  Deceinber-24                       $10,989.00          $5,650.00


    .January-25                      $10,989,00          $5,650.00
   February-25                       $10,989.00          $5,650.00
     March-25                        $10,989.00          $5,650.00
       April-25                      $10,989,00          $5,650,00
       May-2 5                       $10,989.00          $5,650.00
       June-25                       $10,989.00          $5,650,00
        July-25                      $10,989.00          $5,650.00
     Aiigust-25                      $10,989.00          $5,650,00
    September-
             25                      $10,989.00          $5,650.00
    October-25                       $10,989.00          $5,650.00
    November-
            25                       $10,989.00          $5,650.00


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Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.44 Page 36 of 51




  Decern ber-25                      $10,989.00          $5,650.00


    January-26                       $10,989.00          $5,650.00
   February-26                       $10,989.00          $5,650.00
     March-26                        $10,989.00          $5,650,00
      April-26                       $10,989.00          $5,650,00
          May-26                     $10,989.00          $5,650,00
          June-26                    $10,989.00          $5,650.00
          Jiily-26                   $10,989.00          $5,650.00
     August-26                       $10,989.00          $5,650.00
    September-
            26                       $10,989.00          $5,650.00
    October-26                       $10,989.00          $5,650.00
    November-
            26                       $10,989.00          $5,650.00
  Decern ber-26                      $10,989.00          $5,650.00


    January-27                       $10,989.00          $5,650.00
   February-27                       $10,989.00          $5,650,00
     March-27                        $10,989.00          $5,650.00
      April-27                       $10,989.00          $5,650.00
          May-27                     $10,989.00          $5,650,00
          June-27                    $10,989.00          $5,650.00
          July-27                    $10,989.00          $5,650.00
     August-27                       $10,989.00          $5,650.00
    September-
            27                       $10,989.00          $5,650.00
    October-27                       $10,989.00          $5,650.00
    November-
            27                       $10,989.00          $5,650,00
  Decern ber-27                      $10,989.00          $5,650.00


    january-28                       $10,989.00          $5,650,00
   February-28                       $10,989.00          $5,650,00
     March-28                        $10,989.00          $5,650,00
      April-28                       $10,989.00          $5,650,00
          May-28                     $10,989.00          $5,650,00
          June-28                    $10,991.00          $5,600.00



  Total              $120,000.00    $2,000,000.00       $1,000,000.00
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.45 Page 37 of 51




                                  AMENDMENT NUMBER TWO TO
                                   FOOD SERVICES AGREEMENT

         This Amendment Number Two to Food Services Agreement, effective July 21, 2014, is between
 Albion College ("Client") and Bon App6tit Management Company ("Bon Appetit") (collectively the
 "Parties"),

           WHEREAS, the Client and Bon App6tit are parties to a certain Food Services Agreement dated
  June 8, 2011 and that certain Amendment One dated November 26, 2012 ( collectively the "Agreement"),
  pursuant to which Bon Appetit manages the Client's food service operation and facilities; and

          WHEREAS, the Parties now desire to amend the aforesaid Agreement;

          NOW, THEREFORE, in consideration of the promises contained herein and for other good and
  valuable consideration, the Parties hereto agree as follows:          .

          1.       Definitions, All capitalized terms not otherwise defined herein shall have the meaning
  ascribed to them in the Agreement.

          2.      Insertion of Section 3(1A The following is added to the Agreement as Section 3(L);

 L.      Bon Appetit shall conduct a campus wide survey no later than October 15th of each academic
 year, In collaboration with Client, the survey shall seek to identify gaps in service, quality and any other
 issues of significance, Upon completion, Client and Bon Appetit shall work together to develop a
 corrective action plan to address any identified, mutually agreed upon gaps. Bon Appetit shall conduct a
 follow-up survey no later than April 1st to ensure progress has been made in accordance with the
 corrective action plan.

                 Amendment of Exhibit A. Section A.l. Exhibit A, Section A,1 of the Agreement is
  amended to delete paragraphs (a), (b), and (c) and replace them with the following:

     (a) July 1, 2014 - June 30, 2015: a Base Management Fee of the greater of $160,000 or 1% of
         revenues, plus 50% of the excess revenues minus cost of business over the annual override, Total
         fees and earnings to Bon Appetit may not exceed 5% of all program revenues.

      (b) July 1, 2015 - June 30, 2016: a Base Management Fee of the greater of $170,000 or 1% of
          revenues, plus 50% of the excess revenues minus cost of business over the annual override. Total
          fees and earnings to Bon Appetit may not exceed 5% of all program revenues.

      (c) July 1, 2016 - June 30, 2017: a Base Management Fee of the greater of $185,000 or 1% of
          revenues, plus 50% of the excess revenues minus cost of business over the annual override, Total
          fees and earnings to Bon Appetit may not exceed 5% of all program revenues.

      (d) July 1, 2017 - June 30, 2018: a Base Management Fee of the greater of $200,000 or 1% of
          revenues, plus 50% of the excess revenues minus cost of business over the annual override. Total
          fees and earnings to Bon Appetit may not exceed 5% of all program revenues.

  Upon achievement of a specified level of Revenue (the "Override Amount") Bon Appetit and Client shall
  split equally any Revenues (minus applicable Costs of Business) earned in excess of the Override
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.46 Page 38 of 51




 Amount. Bon Appetit's share shall not exceed five percent (5%) of total Revenues, Bon App6tit and
 Client shall mutually agree upon the Override Amount for the upcoming academic year during Client's
 budget process in April and May, but no later than June 1. Efforts will be made to identify revenues and
 cost of business that will mirror Client's internal budget reporting, Client will provide Bon Appetit with
 an assurance of minimum revenues from sales of meal plans, and Bon Appetit will provide Client with an
 assurance of minimum revenues from commercial efforts such as Summer Conference Sales. Both parties
 will work to determine the estimated cost of business.

          4,      Amendment of Exhibit A. Section E, Exhibit A, Section E of the Agreement is amended
 to increase the Advance Payment amount from One Hundred Fifty Thousand Dollars ($150,000) to Two
 Hundred Thousand Dollars ($200,000).

                    Confirmation and Integration. Except as expressly amended by this Amendment, the
  parties hereby confinn and ratify the Agreement in its entirety. The Agreement, as amended hereby,
  constitutes the entire agreement between the parties and their predecessors pertaining to the subject matter
  of the Agreement, as so amended, and supersedes all prior and contemporaneous agreements and
  understandings of the parties and their predecessors in connection therewith.

          6.     Counterparts. This Amendment may be executed in any number of counterparts, each of
  which shall constitute an original and all of which together shall constitute but one and the same original
  document.

                   Headings, The section headings herein are for convenience only and do not define, limit
  or construe the contents of such sections,

          IN WITNESS WHEREOF, the parties hereto have caused this Amendment to be signed by their
  duly authorized officers, all done the day and year first written above,

 Albion College                                    Bon Appdtit Management Company




 By;                                               By:

 Name: Maurr A. Ditzler           ^                Name:                0&K CM fr
 Title:   President                                Title:     CjCO
 Date:                                             Date:       g/i/lW

 By;

 Name: Mark S, Holbrook

 Title:   Controller

 Date;
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.47 Page 39 of 51




                              AMENDMENT NUMBER THREE TO
                               FOOD SERVICES AGREEMENT

          This Amendment Number Three to Food Services Agreement, effective July 1, 2018, is
  between Albion College ("Client") and Bon Appetit Management Co. ("Bon App6tit")
  (collectively the "Parties").

          WHEREAS, Client and Bon Appetit are parties to a certain Food Services Agreement dated
  June 8, 2011, as amended by that that certain Amendment One dated November 26, 2012 and by
  that certain Amendment Two dated July 21, 2014 (collectively the "Agreement"), pursuant to
  which Bon Appetit manages Client's food service operation and facilities; and

         WHEREAS, the Parties now desire to amend the aforesaid Agreement;

         NOW, THEREFORE, in consideration of the promises contained herein and for other good
  and valuable consideration, the Parties hereto agree as follows:

                Definitions. All capitalized terms not otherwise defined herein shall have the
  meaning ascribed to them in the Agreement.

                Amendment of Exhibit A. Section A.l. Exhibit A, Section A.l of the Agreement
  is amended to delete paragraphs (a), (b), and (c) and replace them with the following:

  July 1,2018 - June 30,2019: a Base Management Fee of the greater of $215,000 or 1% of revenues,
  plus 50% of the excess revenues minus cost of business over the annual override. Total fees and
  earnings to Bon Appetit may not exceed 5% of all program revenues.

  Upon achievement of a specified level of Revenue (the "Override Amount"), Bon App6tit and
  Client shall split equally any Revenues (minus applicable Costs of Business) earned in excess of
  the Override Amount. Bon Appetit's share shall not exceed five percent (5%) of total Revenues.
  Bon Appetit and Client shall mutually agree upon the Override Amount for the upcoming
  academic year during Client's budget process in April and May, but no later than June 1. Efforts
  will be made to identify revenues and cost of business that will mirror Client's internal budget
  reporting. Client will provide Bon Appetit with an assurance of minimum revenues, from sales of
  meal plans, and Bon Appetit will provide Client with an assurance of minimum revenues from
  commercial efforts such as Summer Conference Sales. Both parties will work to determine the
  estimated cost of business.

                  Confirmation and Integration. Except as expressly amended by this Amendment,
  the parties hereby confirm and ratify the Agreement in its entirety. The Agreement, as amended
  hereby, constitutes the entire agreement between the parties and their predecessors pertaining to
  the subject matter of the Agreement, as so amended, and supersedes all prior and contemporaneous
  agreements and understandings of the parties and their predecessors in connection therewith.

         4      Coimterparts. This Amendment may be executed in any number of counterparts,
  each of which shall constitute an original and all of which together shall constitute but one and the
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.48 Page 40 of 51




  same original document.

          5.      Headings, The section headings herein are for convenience only and do not define,
  limit or construe the contents of such sections.

          IN WITNESS WHEREOF, the parties hereto have caused this Amendment to be signed
  by their duly authorized officers, all done the day and year first written above.

  Albion College                              Bon Appetit Management Co.




  By:                                         By:

  Name: Deanna S. McCormick                   Name: Fedele Bauccio

  Title: Vice President for Finance and       Title: Chief Executive Officer
         Administration

  Date: 7 j 4 t ^    JCI8                      Date:    08/10/18
                z




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Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.49 Page 41 of 51




                              AMENDMENT NUMBER FOUR TO
                               FOOD SERVICES AGREEMENT

         This Amendment Number Four to Food Services Agreement, effective March 1, 2019, is
 between Albion College ("Client") and Bon Appetit Management Co. ("Bon Appetit")
 (collectively the "Parties").

          WHEREAS, Client and Bon Appetit are parties to a certain Food Services Agreement dated
 June 2011, as amended by that that certain Amendment One dated November 26, 2012, by that
       8,
 certain Amendment Two dated July 21, 2014 and by that certain Amendment Three dated July 1,
 2018 (collectively the "Agreement"), pursuant to which Bon Appetit manages Client's food
 service operation and facilities; and

        WHEREAS, the Parties now desire to amend the aforesaid Agreement;

        NOW, THEREFORE, in consideration of the promises contained herein and for other good
 and valuable consideration, the Parties hereto agree as follows:

               Definitions. All capitalized terms not otherwise defined herein shall have the
 meaning ascribed to them in the Agreement.

                Amendment of Exhibit A. Section G. Exhibit A, Section G of the Agreement is
deleted in its entirety and replaced with the following:

        G.     Payroll - T & B Rates

                A flat charge of 32 percent of gross payroll for managerial employees and 37
        percent of gross payroll for union employees will be charged to cover payroll taxes and
        employee benefit costs. Such costs include medical plans, life insurance, FICA, FUI, SUI,
        Workers' Compensation insurance, state disability insurance, 401(k) and payroll and
        benefit plan preparation and processing. This rate may change as benefit, tax and other
        associated costs change.

                Confirmation and Integration. Except as expressly amended by this Amendment,
the parties hereby confirm and ratify the Agreement in its entirety. The Agreement, as amended
hereby, constitutes the entire agreement between the parties and their predecessors pertaining to
the subject matter of the Agreement, as so amended, and supersedes all prior and contemporaneous
agreements and understandings of the parties and their predecessors in connection therewith.

        4.     Counterparts. This Amendment may be executed in any number of counterparts,
each of which shall constitute an original and all of which together shall constitute but one and the
same original document.

        5.      Headings. The section headings herein are for convenience only and do not define,
limit or construe the contents of such sections.

                                    {Signatures on next page.}
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.50 Page 42 of 51




         IN WITNESS WHEREOF, the parties hereto have caused this Amendment to be signed
 by their duly authorized officers, all done the day and year first written above.

 Albion College                            Bon Appetit Management Co.




                                           By:                  A
 Name: Deanna S, McCormick                 Name: Fedele Bauccio

 Title:   Vice President for Finance and   Title:   Chief Executive Officer
          Administration

 Date:                                     Date:     05/01/19
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.51 Page 43 of 51




                              AMENDMENT NUMBER FIVE TO
                               FOOD SERVICES AGREEMENT

        This Amendment Number Five to Food Services Agreement, dated July 1,2019, is between
Albion College ("Client") and Bon App6tit Management Co. ("Bon Appetit") (collectively the
"Parties").

        WHEREAS, Client and Bon Appetit are parties to a certain Food Services Agreement dated
June 8, 2011, as amended by that that certain Amendment One dated November 26, 2012, by that
certain Amendment Two dated July 21, 2014, by that certain Amendment Three dated July 1,
2018, and by that certain Amendment Four dated March 1, 2019 (collectively the "Agreement"),
pursuant to which Bon Appetit manages Client's food service operation and facilities; and

        WHEREAS, the Parties now desire to amend the aforesaid Agreement;

       NOW, THEREFORE, in consideration of the promises contained herein and for other good
and valuable consideration, the Parties hereto agree as follows:

              Definitions. All capitalized terms not otherwise defined herein shall have the
meaning ascribed to them in the Agreement,

       2.      Amendment of Exhibit A. Exhibit A is deleted in its entirety and replaced with
Exhibit A attached hereto.

        3.     Deletion of Exhibit E. Exhibit E is deleted in its entirety.

         4,     Confirmation and Integration. This Amendment is effective July 1, 2019. Except
as expressly amended by this Amendment, the parties hereby confirm and ratify the Agreement in
its entirety. The Agreement, as amended hereby, constitutes the entire agreement between the
parties and their predecessors pertaining to the subject matter of the Agreement, as so amended,
and supersedes all prior and contemporaneous agreements and understandings of the parties and
their predecessors in connection therewith.

               Counterparts. This Amendment may be executed in any number of counterparts,
each of which shall constitute an original and all of which together shall constitute but one and the
same original document.

        6.      Headings, The section headings herein are for convenience only and do not define,
limit or construe the contents of such sections.

                                    {Signatures on next page,}
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.52 Page 44 of 51




        IN WITNESS WHEREOF, the parties hereto have caused this Amendment to be signed
by their duly authorized officers, all done the day and year first written above.

Albion College                            Bon Appetit Management Co,




By:                                       By:

Name; Deamia S. McCormick                 Name: Fedele Bauccio


Title:   Vice President for Finance and   Ti tle:   Chief Executive Officer
         Administration

                                          Date:      06/13/19
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.53 Page 45 of 51




                                                EXHIBIT A

                                    FINANCIAL ARRANGEMENTS

                                              Albion College

        A.      Profit and Loss Basis

        Bon Appetit will operate its Services for its own account on a profit and loss basis. Profits
shall be the excess, if any, of Gross Sales during any fiscal year over the sum of (a) all direct and
indirect costs of performing the Services, (b) the amortization expense described below, and (c)
the cumulative operating deficit, if any, from prior operating periods during the term of this
Agreement.

                Prices shall be determined by mutual consent between Bon Appetit and Client;
provided, however, that in the event of material cost changes, whether taxes, labor, merchandise,
equipment, or otherwise, including but not limited to any change in any federal, state or local law
including regulatory or legislative mandates, it is agreed that Bon Appetit shall have the right to
adjust said prices to reflect said increases. Bon Appetit will discuss all price adjustments with the
Client prior to any such price adjustment taking effect.

        B.     Meal Plans, Casual Meal Rates and Conference Rates

               The number of Board plan feeding days per month and for the total academic year
will be decided upon prior to the beginning of the academic year. If there is a reduction in the
number of Board days, Bon Appetit will be allowed to increase the daily rates to cover its fixed
operating costs. Client shall pay Bon Appetit the following daily reimbursements for each meal
plan participant.

        There will be 204 board days in the 2019-2020 academic year.

        Academic year: 2019 - 2020



         Number
           of                                              Daily Rate per Meal Plan

                                                        Block      75 Com      100 Com     125 Com
        Boarders             Block 15     Block 18         21       Block       Block       Block       Fraternity
 1001               1010     $   18.59    $   19.43    $   22.42   $   11.25   $ 12.06     $   8.80     $   15.46
 1011               1020     $   18.50    $   19.35    $   22.33   $ 11,16     $ 11.98     $   8.71     $   15.37
 1021               1030     $   18.42    $   19.26    $   22.24   $ 11.08     $ 11.89     $   8.63     $   15.29
 1031               1040     $   18.33    $   19.18    $   22.16   $   10,99   $ 11.81     $   8.54     $   15.20
 1041               1050     $   18.25    $   19.10    $ 22.08     $   10.91   $   11.73   $   8.46     $   15.12
 1051               1060     $   18.17    $   19.02    $ 22.00     $   10.83   $   11.65   $   8.38     $   15.04
 1061               1070     $   18.09    $   18.94    $   21.92   $   10.75   $   11.57   $   8.30     $   14.96
 1071               1080     $   18.01    $   18,86    $   21.84   $   10.67   $   11.49   $   8.22     $   14.88
 1081               1090     $   17.94    $   18.78    $   21.76   $ 10.60     $   11.41   $   8.15     $   14.81
 1091               1100     $   17.86    $   18.71    $   21.69   $   10.52   $   11.34   $   8.07     $   14.73
 1101               1110     $   17.79    $   18.63    $   21.62   $   10.45   $ 11.26     $   8.00     $   14.66


                                                 3
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.54 Page 46 of 51




  1111                 1120     $   17,72     $   18.56    $   21.54   $   10,38     $   11.19   $   7,93   $   14.59
  1121                 1130     $   17.65     $   18,49    $   21.47   $   10.31     $   11.12   $   7,86   $   14.52
  1131                 1140     $   17.58     $   18.42    $   21.40   $   10.24     $   11.05   $   7.79   $   14.45
  1141                 1150     $   17.51     $   18.35    $   21.34   $   10.17     $   10.98   $   7.72   $   14.38
  1151                 1160     $   17.44     $   18.29    $   21.27   $   10.10     $   10.92   $   7.65   $   14.31
  1161                 1170     $   17.38     $   18.22    $   21.20   $   10.04     $   10.85   $   7.59   $   14.25
  1171                 1180     $   17.31     $   18.16    $   21.14   $    9.97     $   10.79   $   7.52   $   14.18
  1181                 1190     $   17.25     $   18.09    $   21.07   $    9.91     $   10.72   $   7.46   $   14.12
 1191                  1200     $   17.19     $   18,03    $   21.01   $    9.84     $ 10,66     $   7.40   $   14.06
 1201                  1210     $   17.12     $   17.97    $   20.95   $    9,78     $ 10.60     $   7.33   $   13.99

  Rates for total sign ups above or below the sliding scale to be mutually agreed.



        Client and Bon Appetit will make efforts to identify and communicate necessary
information for predicting meal participant billing. Bon Appetit and Client shall meet on a routine
basis to review and forecast meal participant billing throughout the academic year.



       Client shall pay Bon Appetit the following reimbursements for casual meal sales. Client
will be responsible for all point-of-sale processes, including credit card and cash management
processes.

         Academic year: 2019-2020                 Meal                     Charge

                                                  Breakfast                $8.75
                                                  Lunch                    $10.50
                                                  Dinner                   $10.50
                                                  Faculty/Staff            $6.10
                                                  Department Charge        $6.10

                Client shall pay Bon Appetit the following reimbursements for conference meal
sales.

         Academic year: 2019-2020                 Meal                     Charge

                                                  Breakfast                $8.75
                                                  Lunch                    $10.50
                                                  Dinner                   $10.50

                Board rates shall remain the same as set forth in the table above for a period of two
years (during the 2019-2020 and 2020-2021 academic years) unless, for the 2020-2021 academic
year, the national or regional Consumer Price Index - Food Away From Home over the prior year is
greater than 2.50%. Should such published index rate exceed 2.50%, the annual board rate increase
will be equal to the difference between such published index rate and 2.50%. Prices for other
products and services will increase in the 2020-2021 academic year by an amount to be negotiated.

       Board rates and prices for other Products and Services will increase in each subsequent
year by an amount to be negotiated, taking into account population, hours of operation, other


                                                     4
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.55 Page 47 of 51




conditions, labor costs (including but not limited to benefits and insurance costs), product costs,
fuel costs, federal, state and local tax structure, any change in federal, state or local law including
regulatory or legislative mandates, any other levy or tax that impacts Bon Appetit's services, and
variances between operating conditions as described by Client prior to execution of this Agreement
and actual operating conditions during the Term, including without limitation student population,
maintenance expenses and utility costs. Changes in board rates and prices shall be not less than
the increase in the national or regional Consumer Price Index - Food Away From Home over the
prior year.

                Bon Appetit shall bill Client on a weekly basis for all reimbursable meals. Client
shall remit to Bon Appetit the aggregate reimbursement within fifteen (15) days of receipt of the
billing.

               Client shall remit the total amount of cash, credit card and debit card sales, less
credit card merchant fees, to Bon Appetit on a monthly basis.

                  A complete reconciliation of sales shall be provided by Client with each remittance.

        C.        Investments

        Bon Appetit has previously funded an investment in Client's dining service program to
fund capital improvements to Client's premises to facilitate the dining service program in a total
sum of One Hundred Twenty Thousand ($120,000) Dollars (the "Original Investment"), Bon
Appetit has been amortizing the Original Investment on a straight line basis. As of June 30,2019,
the remaining balance of the Original Investment is Twenty-Four Thousand ($24,000) Dollars.
Bon Appetit will amortize the remaining balance of the Original Investment from June 2019 until
June 2021 on a straight line basis (see Exhibit F attached), with amortization reimbursable to Bon
Appetit on a monthly basis. Client shall hold title to items funded by the Original Investment. If
this Agreement expires or is terminated for any reason prior to the full amortization of the Original
Investment, Client is liable for and promises to pay to Bon Appetit the unamortized portion of the
Original Investment immediately upon expiration or termination.

          Bon Appetit has previously funded an investment in Client's dining service program to
fund mutually agreed upon capital improvements to Client's premises to facilitate the dining
service program in a total sum of Three Million ($3,000,000) Dollars (the "2013 Investment").
Bon Appetit has been amortizing the 2013 Investment on a straight line basis. As of June 30,2019,
the remaining balance of the 2013 Investment is One Million Seven Hundred Ninety-Six Thousand
Four Hundred Sixty-Seven ($1,796,467) Dollars. Bon Appetit will amortize the remaining balance
of the Original Investment from June 2019 until June 2028 on a straight line basis (see Exhibit F
attached), with amortization reimbursable to Bon Appetit on a monthly basis. Client shall hold
title to items funded by the 2013 Investment. If this Agreement expires or is terminated for any
reason prior to the full amortization of the 2013 Investment, Client is liable for and promises to
pay to Bon Appetit the unamortized portion of the 2013 Investment immediately upon expiration
or termination.



        In the event Client requests that Bon Appetit utilize Investment fluids for purposes other
than those described in Bon Appetit's proposal, or chooses to implement improvements on a

                                                   5
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.56 Page 48 of 51




schedule that differs from the schedule described in the proposal (collectively, "Client Elections"),
it is acknowledged that adherence to such Client Elections may impact revenues, expenses, and/or
operating efficiencies, and thus may impact the pro forma. In such event, Bon Appetit and Client
shall mutually agree upon the potential effect of such Client Elections on Bon Appetit's ability to
achieve its pro forma and the Parties will mutually agree to modify the financial arrangements
between them in consideration thereof,

        D.        Future Investments

               Future funding by Bon Appetit for enhancements to the Premises, construction, etc,
may be generated by incorporating the amounts necessary to complete such projects into the
primary daily rates. These additional special project amounts may be added to Bon Appetit's
annual board rate increases for that year resulting in new primary board rates, due to inflation or
other operational factors.

        E.        Credit Terms

                All amounts due to Bon Appetit shall be paid by the end of the month in which the
invoice is received or within fifteen (15) days of the invoice date, whichever is later, or will be
considered past-due, Past-due amounts due to Bon Appetit will be subject, at Bon Appetit's option,
to a service charge of up to 0.5% per month of the unpaid balance. All costs of collection of past-
due amounts including, but not limited to, reasonable attorneys 1 fees and costs, shall be chargeable
to and paid by Client.

        F.        Advance Payment

               Client shall provide to Bon Appetit an advance payment ("Advance Payment'")
equal to Two Hundred Thousand ($200,000) Dollars to be billed no sooner than August 1 of each
academic year, The Advance Payment shall be paid to Bon Appetit within the terms described in
Exhibit A, Section E above, Bon Appetit shall deduct the Advance Payment from the final invoice
at the end of the then current academic year and provide the Client with a statement of
reconciliation.

       G.         Catering

                Bon Appetit shall provide catering services to Client on and off Premises as
requested. Event arrangements shall be negotiated by the Parties on an event-by-event basis. Bon
Appetit shall invoice Client for the cost of catering services on a monthly basis. Payment by Client
is due in accordance with the terms described in Exhibit A, Section E above.

       H.         Payroll - T & B Rates

               Aflat charge of thirty-two (32%) percent of gross payroll for managerial employees
and thirty-seven (37%) percent of gross payroll for union employees will be reflected on the profit
and loss statement to cover payroll taxes and employee benefit costs. Such costs include medical
plans, life insurance, PICA, FUI, SU1, Workers' Compensation insurance, state disability
insurance, 401(k) and payroll and benefit plan preparation and processing, and costs imposed due



                                                 6
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.57 Page 49 of 51




changes in any federal, state or local law including regulatory or legislative mandates, and legal
costs. These rates may change as benefit, tax and other associated costs change.

                 Bon Appetit Vendors

                In connection with Services provided hereunder, Bon Appetit shall purchase
inventory, equipment, and services from various sellers and vendors selected by Bon Appetit at its
sole discretion (each a "Vendor"). Purchases from Vendors shall be made under such financial and
contract terms Bon Appetit deems in its sole discretion as acceptable ("Vendor Terms"). All Vendor
Terms are the exclusive obligation and property of Bon Appetit. Client does not have any liability
under, or any right to, any Vendor Terms and no Vendor Terms will operate to reduce or otherwise
affect the amount or performance of Client's obligations hereunder.

               Notwithstanding the foregoing, Bon Appetit shall credit the profit and loss
statement monthly with a purchasing volume credit based on four percent (4%) of the nominated
food product purchases made by Bon Appetit on Client's behalf during that month. Nominated
purchases shall mean those food product items purchased from Bon Appetit's approved Vendors.

        J.       Termination

        Termination of this Agreement does not affect any obligations incurred before termination.
In the event of a termination for any reason, all amounts outstanding shall become due and payable
to Bon Appetit within thirty (30) days after termination.

       K.        Exclusivity

       Bon Appetit will have exclusive rights to provide Food Services at any campus building
and space where students can use meal board plans. Bon Appetit may provide catering services in
any campus building or space, but Bon Appetit will have exclusive rights to prohibit the use of the
kitchen Facilities to any external caterers or vendors in the following buildings and spaces:


             •   Baldwin Hall
             •   Library Cafe (outside food may be brought into the public spaces in the Library for
                 special events)
             •   Eat Shop Cafe (outside food may be brought into the public spaces in the Kellogg
                 Center for special events)




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Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.58 Page 50 of 51




                                AMENDMENT NUMBER SIX TO
                                FOOD SERVICES AGREEMENT

          This Amendment Number Six to Food Services Agreement, dated August 1, 2019, is
  between Albion College ("Client") and Bon Appetit Management Co. ("Bon Appetit")
  (collectively the "Parties").

         WHEREAS, Client and Bon Appetit are parties to a certain Food Services Agreement
  dated June 8, 2011, as amended by that that certain Amendment One dated November 26, 2012,
  by that certain Amendment Two dated July 21, 2014, by that certain Amendment Three dated
  July 1, 2018, by that certain Amendment Four dated March 1, 2019, and by that certain
  Amendment Five dated July 1, 2019 (collectively the "Agreement"), pursuant to which Bon
  Appetit manages Client's food service operation and facilities; and

         WHEREAS, the Parties now desire to amend the aforesaid Agreement;

        NOW, THEREFORE, in consideration of the promises contained herein and for other
  good and valuable consideration, the Parties hereto agree as follows:

                 Definitions. All capitalized terms not otherwise defined herein shall have the
  meaning ascribed to them in the Agreement.

         2.      Addition of Exhibit A, Section L. Exhibit A is amended with the addition of the
  following Section L:

                 Bon Appetit will submit a signing bonus to Client in the amount of Two Hundred
         Fifteen Thousand ($215,000) Dollars (the "Signing Bonus"). The Signing Bonus will be
         disbursed immediately upon the execution, by both Parties, of Amendment Number Six
         to this Agreement. Bon Appetit will amortize the Signing Bonus from August 2019 until
         January 2022 on a straight line basis. If this Agreement expires, or is terminated by
         Client pursuant to Section 2(B) of the Agreement or by Bon Appetit pursuant to Section
         2(C) of the Agreement, prior to the foil amortization of the Signing Bonus, Client is
         liable for and promises to pay to Bon Appetit the unamortized portion of the Signing
         Bonus immediately upon expiration or termination.

          3.      Confirmation and Integration. This Amendment is effective August 1, 2019.
  Except as    expressly amended by this Amendment, the parties hereby confirm and ratify the
  Agreement in its entirety. The Agreement, as amended hereby, constitutes the entire agreement
  between the parties and their predecessors pertaining to the subject matter of the Agreement, as
  so amended, and supersedes all prior and contemporaneous agreements and understandings of
  the parties and their predecessors in connection therewith.

         4       Counterparts. This Amendment may be executed in any number of counterparts,
  each of which shall constitute an original and all of which together shall constitute but one and
  the same original document.

          5.      Headings. The section headings herein are for convenience only and do not
  define, limit or constrae the contents of such sections.

                                     {Signatures on next page.}
Case 1:20-cv-00949-PLM-RSK ECF No. 1-2 filed 09/29/20 PageID.59 Page 51 of 51




          IN WITNESS WHEREOF, the parties hereto have caused this Amendment to be signed
  by their duly authorized officers, all done the day and year first written above,

   Albion College                           Bon Appltit Management Co.



                  u
  By:      //                               By;


  Name: Deanna S. McCormick                 Mame: Fedele Bauecio

  Title:   Vice President for Finance and   Title:   Chief Executive Officer
           Administralion

  Date:         8/12/19                     Date:    08/19/19




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